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              . BRUTO    N
   THOMA.SDGIS T R IC T COURT       BEFORE THE JUDICIAL PANEL
CLERK, U .S
                                   ON MULTIDISTRICT LITIGATION




      IN RE DEALER MANAGEMENT                                                JUDGE DER-YEGHIAYAN
      SYSTEMS ANTITRUST LITIGATION                           MDL No.       MAGISTRATE JUDGE VALDEZ



       MOTION OF CDK GLOBAL, LLC, THE REYNOLDS AND REYI\OLDS COMPA}IY,
        AND COMPUTERIZED YEHICLE REGISTRATION, INC. FOR TRANSF'ER AIID
         CoNS0LTDATTON OF RELATED ACTIONS PURSUANT TO 28 U.S.C. $ 1407

              Defendants CDK Global,      LLC and CDK Global, Inc. ("CDK"), The Reynolds and

      Reynolds Company ("Reynolds"), and Computerized Vehicle Registration ("CVR") respectfully

      move this Panel under 28 U.S.C. $ 1407 and Judicial Panel on Multidistrict Litigation Rule 6.2

      for an order transferring five related actions pending in five different district courts to a single

      district court for consolidated or coordinated pretrial proceedings. Defendants specifically

      request that the related actions be transferred to and consolidated before the Honorable Samuel

      Der-Yeghiayan in the Northern District of Illinois.

             The related actions, which are listed in the Schedule of Actions accompanying this

      motion, include: Motor Vehicle Software Corp. v. CDK Global, fnc., et al., No. 2:17-cv-00896-

      DSF-AFM (C.D. Cal.); Authenticom, Inc. v. CDK Global, LLC et a/., No. 3:17-cv-00318-JDP

      (W.D. Wis.); Teterboro Automall, Inc. v. CDK Global, LLC et al., No. 2:17-cv-08714 (D.N.J.);

      Hartley Buick GMC Truck, Inc. v. CDK Global, LLC et al., No. 1:17-cv-07827 (N.D. Ill.); and

      John O'Neil Johnson Toyota, LLC v. CDK Global, LLC, No. 3:17-ov-888-HSO-JCG (S.D.

      Miss.). For the reasons set forth in the accompanying memorandum, Defendants' motion to

      transfer and consolidate these actions for pretrial purposes should be granted.
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Dated: November 7,2017                            Respectfu   lly submitted,

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  Case: 1:17-cv-07827 Document #: 5 Filed: 11/09/17 Page 3 of 26 PageID #:49
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                       BEFORE THE JT'DICIAL PANEL
                      ON MULTIDISTRICT LITIGATION


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IN RE DEALER MANAGEMENT                  )
SYSTEMS LITIGATION                       )      MDL   No._
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    DEFEIIDAI{TS'MEMORANDT]M IN SUPPORT OF THEIR MOTION FOR
 TRANSFER AND CONSOLIDATION OF RELATED ACTIONS PURSUANT TO 28
                                u.s.c.       $ 1407
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                                        INTRODUCTION

        Pursuant to 28 U.S.C. $ 1407 and Judicial Panel on Multidistrict Litigation Rule 6.2(a),

Defendants CDK Global, LLC and CDK Global, Inc. (collectively,         "CDK"), The Reynolds      and

Reynolds Company ("Reynolds"),1 and Computerized Vehicle Registration ("CVR")

respectfully move the Panel to transfer five related antitrust actions ("Related Actions") in five

different district courts   to a single district court for   consolidated   or coordinated pretrial
proceedings.2 Deferdants request that these Related Actions be transferred to and consolidated

before the Honorable Samuel Der-Yeghiayan in the Northern District of Illinois, before whom a

Related Action is currently pending.

       All five Related Actions   are based on similar alleged conduct, overlapping factual stories,

and the same or similar legal theories.   At bottom, each plaintiff alleges that, in February 2015,

CDK and Reynolds entered into an unlawful conspiracy to drive other firms out of the purported

secondary markets    for data "integration" (i."., data extraction) on CDK's and Reynolds's

proprietary enterprise software systems for automobile dealerships, and to restrict access to those

systems   to the detriment of plaintiffs. The Related Actions thus all revolve around conlmon

questions of fact that warrant transfer and consolidation.

       Moreover, the just and efficient conduct of these Related Actions would best be served

by transfer and consolidation. It would be far more efficient for the parties and the judiciary to


t       Reynolds files this motion without waiver of, and reserving all rights with respect to, the
controlling arbitration provisions in its dealer and vendor contracts. Reynolds will move to
compel arbitration at the appropriate time.

'         The Related Actions include: Motor Vehicle Sofnuare Corp. v. CDK Global, fnc., et al.,
No. 2:17-cv-00896-DSF-AFM (C.D. Cal.) ("MYSC'); Authenticom, Inc. v. CDK Global, LLC et
a/., No. 3:17-cv-00318-JDP (W.D. Wis.); Teterboro Automall, Inc. v. CDK Global, LLC et al.,
No.2:17-cv-0871a @.N.J.); Hartley Buick GMC Truck, Inc. v. CDK Global, LLC et al.,No.
1:17-cv-07827 (N.D. I1l.); and John O'Neil Johnson Toyota, LLC v. CDK Global, LLC,No.
3 : I 7-cv-888-HSO-JCG (S.D. Miss.).
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coordinate pretrial proceedings in a single, geographically convenient forum close to CDK's and

Reynolds's headquarters (where most of the key witnesses and other pieces of factual evidence

are located) than for the Related Actions to be litigated in parallel   in five different courts across

the country, including on both coasts. The motion for transfer and consolidation should therefore

be granted.

                                        BACKGROUND

       A.        Participants In The Automotive Marketplace

       CDK Global, Inc. (which wholly owns CDK Global, LLC) is a Delaware corporation that

has its principal place of business in Hoffinan Estates, Illinois, which is in the Northern District

of Illinois. Reynolds is an Ohio corporation with its principal offices in Kettering, Ohio         and

Houston, Texas. CDK and Reynolds provide enterprise software and hardware systems (called

dealer management systems or DMSs) to new vehicle franchised auto dealers in the United

States. Other providers, including DealerTrack, a division   of Cox Automotive, also offer DMS

systems. CDK and other DMS providers also offer DMS services to non-franchised and used car

dealers. Dealers use DMSs to manage core business functions, including sales, service, and

consumer financing.

       Many dealers contract with one or more third-party software vendors who offer

applications that also perform sales and other operational functions for dealerships. Hundreds      of

different vendors offer a wide variety of services to dealerships in this way. For example, some

third-party applications help dealers schedule service appointments. Other vendors, like TrueCar,

generate sales leads from consumer-facing websites and then validate particular vehicle sales as

being linked to those leads. Still others provide automated license-plate registration services at

the time   of   sale, manage customer outreach, help with dealership marketing, information

technology, websites, and so forth.
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           Some application vendors utilize consumer and inventory data collected by dealers. An

application provider like TrueCar, for example, may access a dealer inventory and completed

vehicle sales information. Many vendors only leverage data "pulled" from the DMS. Others,

however, desire to "push" or "writeback" altered or edited data into the DMS so that the

information can populate the DMS, as when a vendor amends individual customer records or

inputs a service appointment in the system.

           Certain DMS platforms permit independent data "integrators" (in effect, data extractors)

such as Authenticom to act as middlemen between the DMS and application vendors. These data

extractors obtain data from the DMS and furnish it to application vendors through the extractors'

own software interfaces. Other DMS providers (notably, CDK and Reynolds), do not permit

third-party data extractors to integrate with the DMS, providing their own, secure integrations

instead.

           B.     The Five Related Actions

           On February 3, 2017, Motor Vehicle Software Corporation ("MVSC")-a vendor that

provides electronic vehicle registration and titling services to dealerships-filed an antitrust

action (MVSq against CDK, Reynolds, and Computeized Vehicle Registration,           a   joint venture

between CDK and Reynolds that also provides vehicle registration and titling services. This

action, Motor Yehicle Software Corporation v. CDK Global, Inc., et a/., No. 2:17-cv-00896-

DSF-AFM (C.D. Cal.), is currently pending in the Cenkal District of California. See MVSC

SAC. MVSC is a California corporation with its principal place of business in Agoura Hills,

California (located in Los Angeles County). Id. n D. MVSC is represented by Kellogg, Hansen,

Todd, Figel and Frederick, P.L.L.C. (along with local counsel). See MVSC SAC.3 MVSC


3          This firm was formerly called Kellogg, Huber, Hansen, Todd, Evans & Figel, P.L.L.C.,
and that name appears on some early pleadings.
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recently filed a Second Amended Complaint, following the court's partial dismissal of its First

Amended Complaint. See MVSC Dkt. 73, 7 6.

        The next Related Action, Authenticom, Inc. v. CDK Global, LLC et al., No.3:I7-cv-

00318-JDP (W.D.Wis.) was filed on May 1, 2017,in the Western District of Wisconsin by the

same attorneys at Kellogg, Hansen (along      with local counsel).   See Authenticom Compl. The

plaintiff in Authenticom is a Wisconsin firm that provides data "integration" services to vendors

in the automotive    industry. On July 28, 2017, the district court      in   Authenticom entered

preliminary injunctions against CDK and Reynolds (Authenticom Dld-. 192, 193), which CDK

and Reynolds appealed to the Seventh Circuit (id. DkL 194, 196). Those injunctions were

promptly stayed by the Seventh Circuit (id. Dkr. 210), and yesterday, that Court vacated the

preliminary injunction, holding that the terms of the injunction went "far beyond" the scope of a

proper remedy for the plaintiff s conspiracy allegations. Opinion at 14, Authenticom, Inc. v. CDK

Global, LLC et a/., Nos. 17-2540   & 17-2541(7th Cir. Nov. 6, 2017) ("Authenticom Op;').

        The other three Related Actions, Teterboro Automall, Inc. v. CDK Global, LLC et   al.,No.
    .
2:I7-cv-08714 (D.N.J.), Hartley Buick GMC Truck, Inc. v. CDK Global, LLC et al.,No.1:17-cv-

07827 (N.D.   Ill.), andJohn O'Neil Johnson Toyota, LLC v. CDK Global, LLC,No. 3:17-cv-888-

HSO-JCG (S.D. Miss.), were respectively filed on October 19,2017, in the District of New

Jersey (see Teterboro Automal/ Compl.); on October 31,2017, in the Northern District of    Illinois

(see Hartley Buick Compl.); and on November 3, 2017,      in the Southern District of Mississippi

(see John   O'Neil Compl.). The named plaintiffs in these cases are auto dealerships (located in

New Jersey, New York, and Mississippi, respectively) that seek to represent putative nationwide

classes of dealers that purchased DMS service from   CDK andlor Reynolds. CDK and Reynolds

have not yet responded to these complaints.




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       Before filing this motion, Defendants, through their undersigned counsel, notified all

plaintiffs' counsel regarding Defendants' intent to move to transfer and consolidate the Related

Actions to the Northern District of Illinois before Judge Der-Yeghiayan.

       C.      The Common Allegations Against CDK and Reynolds.

       Although the allegations in each Related Action vary slightly to          fit the role of the
particular plaintiff in the automotive marketplace (i.e., vendor, data "integrator," or dealer), each

of these lawsuits rests on the same or similar core factual allegations and legal theories.

       All five Related Actions       allege the same underlying antitrust conspiracy. Plaintiffs in

each Related Action basically recite the same alleged facts. Stated simply, the story they spin is

that CDK and Reynolds conspired to control purported markets for data "integration" services on

their respective DMS platforms and exclude independent data "integrators." This, in turn, allows

CDK and Reynolds to charge vendors supracompetitive prices for access to DMS data through

CDK's Third-Party Access program ("3PA") and Reynolds's Reynolds Certified                     Interface

("RCI") program, which plaintiffs characterize as in-house data "integration" providers.              ^Seq

e.g., MVSC SAC     fl   133; Authenticom Compl. J[J[ 14-15; Teterboro Automall Compl.   ]    12;   Hartlqt

Buick Compl.   I   19; John   O'Neil Compl. fl l3.o

       More specifically, each plaintiff alleges that, prior to 2015, CDK and Reynolds competed

in the purported market for data "integration" services because CDK (through             subsidiaries)

provided "integration" services with respect to data stored on Reynolds's DMS, which could also

be accessed through RCI. ,See, e.g., MVSC SAC          fl I34; Authenticom   Compl.   I9l;    Teterboro


a      The complaint is the first docket entry in each Related Action; in MVSC, Defendants cite
the operative Second Amended Complaint. Defendants attach those complaints, as well as the
relevant docket sheets, as exhibits to this memorandum. See Exhibit A (MVSC docket sheet and
Second Amended Complaint); Exhibit B (Authenticom docket sheet and complaint); Exhibit C
(Teterboro Automall docket sheet and complaint); Exhibit D (Hartley Buick docket sheet and
complaint); Exhibit E (John O'Neil docket sheet and complaint).
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Automall Compl. 191' Hartley Buick Compl.        I   15; John    O'Neil Compl.         !J 15. (Reynolds has never

provided "integration" services with respect to data stored on               CDK's or any other DMS).          See

MVSC SAC fl 134. The plaintiffs allege that, in February 2015, CDK and Reynolds entered into

an unlawful horizontal agreement to divide the purported market for data "integration," pursuant

to which CDK would no longer provide "integration" services with respect to data on Reynolds's

DMS. See, e.g., MVSC SAC fl 134; Authenticom Compl.                 \    1321.   Teterboro Automall Compl. fl 9;

Hartley Buick Compl.     I   17; John   O'Neil Compl. fl 17. This agreement, according to plaintiffs,

has allowed   CDK and Reynolds each to become the exclusive provider of "integration" services

on their respective DMSs. See, e.g., M'|/SC SAC         fl   148; Authenticom          Compl.I   125; Teterboro

Automall Compl.    I   I0; Hartley Buick Compl. \ 17; John O'Neil Compl. fl 17. Plaintiffs allege

that CDK and Reynolds charge vendors inflated prices for data access through 3PA and RCI, and

they allege that vendors pass these inflated prices on to the dealers that use the vendors' software

applications. See, e.g., MYSC SAC lJ 92; Authenticom Compl. flfl 125, 130; Teterboro Automall

Compl.   l12; Hartley Buick Compl. 1221' John O'Neil Compl.l22.
         Plaintiffs' virtually identical claims. Plaintiffs in the Related Actions all allege some

combination of the same four types of Sherman Act violations:

            o   Horizontal conspiracy allegations: Plaintiffs claim that CDK and Reynolds

                entered into an agreement to divide the data "integration" market and exclude

                independent "integrators" (MVSC SAC             ''lTtT   206-15; Authenticom Compl. nn 242-

                52; Teterboro Automall Compl. flll      11   8-24; Hartley Buick Compl.         ffi   128-37 ; John

                O'Neil Compl.'lJfl 128-37);

            o   Monopolization allegations: Plaintiffs claim that CDK and Reynolds have

                monopolized the purported secondary markets for data "integration" services on
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               their respective DMSs (MVSC SAC lTfl 216-24; Authenticom Compl.          fl\   270-76;

               Teterboro Automall Compl.     ll   ru5-52; Hartley Buick Compl.   ll   138-43; John

               O'Neil Compl. flfl 138-a3);

           o   Exclusive dealins allegations: Plaintiffs claim that CDK and Reynolds require

               vendors to obtain data solely from 3PA/RCI and require dealers to agree not to

               provide any third party with access to the DMS (Authenticom Compl.       ll253-61;
               Teterboro Automall Compl. flfl 125-34)s; and

           .   Tying allegations: Plaintiffs claim that CDK and Reynolds require dealers to use

               CDK's or Reynolds's data "integration" services as a condition of purchasing

               DMS service (Authenticom Compl. fln 262-69; Teterboro Automall Compl. lffl

               13s-44).

       Plaintiffs' overlapping putative classes. The named plaintiffs in the three            Related

Actions styled as putative class actions (Teterboro Automall, Hartley Buick, ard John O'Neil)

purport to represent materially identical nationwide classes of franchised automobile dealerships

that purchased DMS services from CDK or Reynolds. Teterboro Automall Compl. fl 105;

Hartley Buick Compl. fl 111; John O'Neil Compl. fl 110.

       Plaintiffs' materially identical prayers for relief. Finally, all plaintiffs pray for

materially identical relief, including treble damages, permanent injunctive relief, pre- and/or

post-judgment interest, and attorneys' fees. See MVSC SAC Prayer for Relief; Authenticom




5      The plaintiffs in Hartley Buick and John O'Neil do not state a separate cause of action for
exclusive dealing, but they allege at length-in word-for-word identical language-that CDK
and Reynolds employ unlawful exclusive dealing agreements. Hartley Buick Compl. J[fl 89-96;
John O'Neil Compl.lifl 89-96.
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Compl. Prayer for Relief; Teterboro Automall Compl. Prayer for Relief; Hartley Buick Compl.

ll   17l-76; John O'Neil Compl. Ifl 17l-76.6

                                               ARGUMENT

I.       The Panel Should Transfer and Consolidate the Related Actions Pursuant to 28
         u.s.c. $ 1407.
         Transfer and consolidation is appropriate in these cases because the factual allegations in

the five Related Actions unquestionably overlap. Indeed, counsel who represent the plaintiffs in

the MVSC and Authenticom actions have acknowledged that they are Related Actions, stating the

rulings in one case are "dispositive" of the other and the two cases are "based on the same facts."

MVSC Opp. to Mot. to Dismiss (Dkt. 66) at          2. See also id. at 10 (stating that the Authenticom
litigation is "[b]ased on the same evidence supporting the allegations in MVSC's Complaint.").

Under 28 U.S.C. $ 1407, when actions "involving one or more common questions of fact are

pending    in different       districts," the Panel may transfer the cases    to a single district   for

consolidated pretrial proceedings. 28 U.S.C. $ 1a07(a). The Panel "shall" order transfer and

consolidation when       it   determines that a transfer   "will be for the convenience of parties   and

witnesses and    will   promote the just and efficient conduct of such actions." Id. Each of these

criteria is easily satisfied here.

        A.      The Related Actions Involve Common Questions of Fact and Law.

        It is manifestly apparent that the five Related Actions           involve numerous corlmon

questions of fact and law for purposes of $ 1407.7 As detuiled above, each of the Related Actions



u      L addition to the forms of relief common to all the Related Actions, the plaintiffs in
Teterboro Automall and Hartley Buick seek restitution and/or disgorgement under New Jersey,
New York, and Mississippi state law, respectively. Teterboro Automall Compl. Prayer for Relief;
Hartley Buick Compl. n fi2; John O'Neil Compl ll I72.

'       By arguing that transfer and consolidation or coordination under 28 U.S.C. $ 1407            are
appropriate, Defendants do not waive and expressly reserve their right to oppose certification        of
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is centered on essentially the same alleged antikust conspiracy between CDK and Reynolds to

secure control of the purported data "integration" market-despite minor variations in the way

each   plaintiff tells the story. In addition, three of the five Related Actions purport to bring claims

on behalf of a nationwide class of dealers who bought DMS service from CDK or Reynolds. The

plaintiffs in the Related Actions also pray for materially identical relief. The actions thus involve

numerous cornmon questions of fact, including but not limited to:

             o     Whether CDK and Reynolds in fact engaged in a horizontal conspiracy and what

                   the terms of the alleged conspiracy were;

             o     Whether CDK's and Reynolds's restrictions on access to their DMSs by third-

                   p   arty data "integrators " served procompetitive purposes ;

             .     The effect of the alleged conspiracy on prices in the alleged DMS market or in the

                   purported market for data "integration" services; and

             o     Whether the purported secondary markets for data "integration" seryices on

                   CDK's and Reynolds's respective DMSs exist.

         Indeed, the Panel has often ordered transfer and consolidation or coordination in matters

in which a number of pending actions allege the              same underlying antitrust conspiracy. For

example, in      In re Travel Agent Comm'n Antitrust Litig.,290 F. Supp. 2d 1381, 1382 (J.P.M.L.

2003), the Panel held that consolidation was warranted because the three related actions each

"involve[d] allegations         of a   conspiracy   for the unlawful reduction and elimination of
commissions to travel agents, and factual questions concerning the existence, duration, and


the putative classes in Teterboro Automall, Hartley Buick, and John O'Neil. The relevant
threshold inquiry under Rule 23 generally concerns whether a case presents common questions
among plaintiffs and class members, whereas the inquiry under $ 1407(a) is whether common
questions aise across dffirent cases. Therefore, any analysis under $ 1407 is distinct from an
analysis of whether the requirements of Rule 23 have been satisfied in Teterboro Automall,
Hartley Buick, or John O'Neil.
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participants in the alleged conspiracy     will be cofllmon to each action." The     Panel rejected the

notion that "unique matters" in a particular case precluded consolidation, observing that "Section

1407 does not require a complete identity or even majority of common factual and legal issues as

a prerequisite   to centralization" and that "the presence ofdifferent nuances [in different actions]

does not negate the existence of common questions          of fact." Id.

        So too here. The plaintiffs in the Related Actions all allege the same underlying antikust

conspiracy, raising numerous common questions of fact, a fact that all but one of the plaintiffs

has either explicitly (in the case of MVSC and Authenticom) or implicitly (in the case of

Teterboro) acknowledged in their court filings. See p. 8, supra (the Authenticom litigation is

"[b]ased on the same evidence supporting the allegations in MVSC's Complaint."); Teterboro

Compl. (citing extensively to the Authenticom and MVSC filings as support for its factual

allegations). As in Travel Agent Commission and other matters involving parallel antikust suits,

therefore, "[c]entralization" is "necessary in order to eliminate duplicative discovery, prevent

inconsistent pretrial rulings, and conserve the resources of the parties, their counsel and the

judiciary." 290 F. Supp. 2d at 1382;    see also, e.g.,   In re: Polyurethane Foam Antitrust Litig.,753

F. Supp. 2d 1376, 1377 (J.P.M.L. 2010) (consolidation was warranted where "Plaintiffs in all

actions allege that the eleven defendants and their co-conspirators engaged in a conspiracy to fix,

raise, maintain and/or stabilize the prices charged for polyurethane foam sold in the United

States.")   In re Urethane Antitrust Litig.,       333 F. Supp. 2d 1379, 1381 (J.P.M.L. 2004)

(centralization of "purported class actions brought by plaintiffs who allege that defendants have

engaged in a conspiracy to    fix   and maintain the price of urethane and urethane chemicals" was

"necessary").




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          B.     Transfer Would Be Convenient for the Parties and Witnesses and Would
                 Promote Judicial Efficiency.

          Transfer would also be convenient for the parties and witnesses and would promote

judicial efficiency. Because the complaints in the Related Actions all allege effectively the same

antitrust conspiracy between CDK and Reynolds (and at least two                of the plaintiffs    are

represented    by the same counsel), the plaintiffs in the Related Actions are likely to        seek

discovery of the same information on the same topics. Moreover, new cases may well continue

to be filed, as additional plaintiffs copy the approach taken by plaintiffs in Teterboro Automall,

Hartley Buick, and John O'Neil and bring putative class actions on behalf of dealers (or other

third parties, such as application vendors) that piggyback on the allegations of the earlier Related

Actions.

          Without pretrial consolidation or coordination, therefore, the courts and the parties would

spend significant time and resources engaging in repetitive motion practice. The courts and the

parties would also need to re-litigate overlapping pretrial issues in various courts. Not only

would this be inefficient, but it would also increase the risk of conflicting pretrial rulings issued

by different courts. See In re Allstate Ins. Co. FLSA Litig.,283 F. Supp. 2d 1358, 1359 (J.P.M.L.

2003) (ruling that consolidation was "necessary        in order to avoid duplication of   discovery,

prevent inconsistent pretrial rulings and conserve the resources of the parties, their counsel and

the   judiciary"); In re Multidistrict Civil Actions Involving Fourth Class Postage Regulations,29S

F. Supp. L326, 1327 (J.P.M.L. 1969) (the "interests of justice are not ordinarily served" by

"inconsistent decisions" among courts).

          Transfer and consolidation, by contrast, would allow the courts and the parties to avoid

duplicative discovery or inconsistent rulings on similar pretrial motions. See, e.g.,          In   re

Corrugated Container Antitrust Litig.,447 F. Supp. 468,471 (J.P.M.L. 1978) (consolidation


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warranted because the parties   "will   have to depose many of the same witnesses, examine many

of the same documents, and make many similar pretrial motions"); In re Uranium                 Indus.

Antitrust Litig.,458 F. Supp. 1223,1230 (J.P.M.L. 1978) ("TVA and Westinghouse will have

to depose many of the same witnesses, examine many of the same documents, and make many

similar pretrial motions in order to prove their conspiracy allegations. The benefits of having a

single judge supervise this pretrial activity are obvious."). And transfer and consolidation would

forestall conflicting proceedings on the Teterboro Automall, Hartley Buick, and John O'Neil

plaintiffs' attempts   to certify   "overlapping, [even]    if   not identical, nationwide   classes."

Polyurethane, T53 F. Supp. 2d at 1377; see also, e.g., In re Merck        & Co. Secs., Derivative &
ERISALitig.,360 F. Supp.2d 1375,1377 (J.P.M.L.2005);InreWireless               Tel.9ll   Calls Litig.,

259 F. Supp. 2d 1372, 1373 (J.P.M.L. 2003); In re Phenylpropanolamine (PPA) Prods. Liab.

Litig.,1,73 F. Supp. 2d 1377 , 1379 (J.P.M.L. 2001).

         Accordingly, transfer of the Related Actions to a single district court for consolidated or

coordinated pretrial proceedings is appropriate.

II.      The Related Actions Should Be Transferred to and Consolidated in the Northern
         District of Illinois.

         Defendants also respectfully request that the Related Actions be transferred          to   the

Northern District    of Illinois    and consolidated    before Judge Der-Yeghiayan for pretrial

proceedings. Judge Der-Yeghiayan is already presiding over Hartley Buick, which is one of the

Related Actions.

         The Northern District of Illinois is the most convenient forum for the parties and the

witnesses. CDK is headquartered in Hoffrnan Estates, Illinois, which is in the Northern District




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of Illinois. And Reynolds is headquartered in Kettering, Ohio8-approximately 300 miles from

Chicago. Transfer and consolidation in that District thus would be convenient for witresses

located at CDK's and Reynolds's corporate headquarters, who are likely to be the key witnesses

for discovery pu{poses and in any trial on the merits. And   as   this Panel has frequently noted, the

Northern District of Illinois "conveniently located and readily accessible for most . . . litigants"

in other parts of the country as well. See In re Starlink Corn Prods. Liab. Litig.,I52F. Supp. 2d

1378, 1380-81 (J.P.M.L.2001). For this reason, the Panel has transferred and consolidated

numerous cases before the Northem District of Illinois where, as here, an action was already

pending there. E.g., id.; In re: AIG Workers Comp. Ins. Policyholder Litig., 11 F. Supp. 3d 1349,

1350 (J.P.M.L.2014) ("The Northern District       of Illinois is a centrally located and convenient

forum."); In re Ocean Fed. Bank FSB Mortg. Servicing Litig., 314 F. Supp. 2d 1376, 1379

(J.P.M.L. 2004) (ordering transfer because of the Diskict's "geographically central[]" location

and because actions already were pending in the Northern District of Illinois);        In re Aimster

Copyright Litig.,177 F. Supp. 2d 1380, 1382 (J.P.M.L. 2001) (Northern District of Illinois was

"a convenient, central forum").

         In contrast to the Northern District of Illinois, each of the other forums in which Related

Actions are pending (California, New Jersey, Mississippi, and Wisconsin) would be inconvenient

for Defendants-and for the plaintiffs other than the particular plaintiff that sued in each forum.

lt   makes no more sense for the parties in the Authenticom, Teterboro, Hartley Buick,      and,   John

O'Neil to fly cross-country to Califomia to appear before Judge Fischer (the judge in the frst-

fied MVSC case) than it does for all of them to fly to the other coast to appear before        Judge



t        So*e of Reynolds's witnesses are based in its Houston, Texas office, which is also more
convenient to Chicago (2 hour 20 min direct flight) than to Los Angeles (3 hour 45 min direct
flight), Newark (3 hour 20 min direct flight), or Madison (4 hours + with connections).
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Chesler in New Jersey (the judge presiding over the Teterboro action) or to Gulfport, Mississippi

to appear before Judge Ozerden (the judge presiding over the John O'Neil action). And although

the Western District of Wisconsin is somewhat centrally located, Madison is not as centrally

located or as easy to get to as is Chicago, and the resources of the District not as robust. In short,

the convenience of the parties and witnesses thus strongly supports transfer and consolidation in

the Northern District of Illinois.

         Consolidation in the Northern District of Illinois is also warranted because the Northern

District of Illinois is subject to the appellate jurisdiction of the Seventh Circuit, which has now

issued   its opinion on CDK's and Reynolds's            appeals   of the preliminary     injunctions in

Authenticom. Consolidating the Related Actions in a forum in the Seventh Circuit would provide

the parties in each case the benefit of a single, binding appellate decision on the permissible

scope of any preliminary injunction, which    will   substantially narow the scope of disputed issues

should the plaintiffs in other Related Actions move for a preliminary injunction. The Seventh

Circuit's opinion also commented on the potential viability            of   several   of the claims   in

Authenticom: the court of appeals stated that     it was "dubious in the extreme" that CDK's       and

Reynolds's practices constituted tylng (Authenticom Op. 13), and it indicated that the plaintiff       s


monopolization claim was foreclosed by Supreme Court precedent (id. at 14). This opinion

would provide helpful guidance to the courts and parties in the other cases as they proceed to

discovery.

         Finally, whereas the Related Actions are at various stages of proceedings, none           has

advanced to the point where a transfer to the Northem Dishict        of Illinois would prejudice any

party.T\e MVSC      case   is still at the motion to dismiss stage with no pre-trial schedule having

been set and the Teterboro, Hartley Buick, andJohn O'Neil cases were just recently        filed. As for


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Authenticom, notwithstanding the preliminary injunction proceedings and the entry of a pre-kial

schedule (including a trial date in late 2018), Defendants' motions to dismiss remain pending and

the parties are just beginning to engage        in discovery,   although no documents have been

exchanged or depositions taken or scheduled. Thus, as detailed above (at            ll-12), transfer   and

consolidation will only aid in the efficient resolution of all of these related claims.

                                          CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Panel transfer the

Related Actions to a single district court for consolidated or coordinated pretrial proceedings

under 28 U.S.C. $ 1407. Moreover, Defendants specifically request that the Panel order the cases

transferred to the Northern District of Illinois and consolidated before the Honorable Samuel

Der-Yeghiayan.

Dated:November 7,2017                                       Respectfu   lly submitted,

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Counselfor Defendant
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                                 BEFORE THE JUDICIAL PANEL
                                ON MULTIDISTRICT LITIGATION

               MDL-_      -   In re Dealer Management Systems Antitrust Litigation.

                                          Proof of Service

        I     hereby certifu that on November      7,   2017,   a copy of the foregoing   Motion,

Memorandum, Schedule of Actions, and this Certificate was served via UPS overnight delivery

on the following recipients:

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Clerk, U.S. District Court for the Northern District of Illinois
Everett McKinley Dirksen United States Courthouse
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Clerk, U.S. District Court for the Southern District of Mississippi
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        I     further certifu that on November     7, 2017, a copy of the     foregoing Motion,

Memorandum, Schedule of Actions, and this Certificate was served via email on the following

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                                  Computerized Yehicle Registration
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      Case Pending No. 74 Document l--4 Filed lLlO7lL7 Page 1 of 105




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